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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                               8:16-CR-331

vs.
                                                            ORDER
JULIAN MIX-PEREZ,

                 Defendant.


      IT IS ORDERED that the defendant's motion to proceed on appeal in
forma pauperis (filing 150) is granted, and the defendant is permitted to
proceed on appeal in forma pauperis.


      Dated this 3rd day of August, 2017.


                                            BY THE COURT:



                                            John M. Gerrard
                                            United States District Judge
